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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   JOSHUA COLE FOR DELEGATE,

                       Plaintiff,                    Civil Action No. l:17-cv-01295-CMH-MSN

                  V.



   VIRGINIA STATE BOARD OF ELECTIONS,
   et al.

                       Defendants.



                       PLAINTIFF^S NOTICE OF VOLUNTARY DISMISSAL


          PlaintiffJoshuaCole for Delegate, by and through counsel, and pursuant to Federal Rule
   of Civil Procedure 41(a)(l)(A)(i), hereby gives notice of the voluntary dismissal of the above-
   captioned action without prejudice. No opposing party in the above-captioned matter has served
   either an answer or a motion for summaryjudgment. As such, court approval of this dismissal is
   not required. See id.


   Dated: December 4,2017
                                                   Respectfully submitted,

                                                   Bv       Amanda R. Callais
                                                        Marc Erik Elias (admittedpro hoc vice)
                                                        Bruce V. Spiva (admitted pro hoc vice)
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                                                        Attorneysfor Plaintiff
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                                    CERTIFICATE OF SERVICE

          1certify that on December 4, 2017,1 filed the foregoing with the Clerk of the Court using
   the ECF System which will send notification of such filing to the registered participants as
   identified on the Notice of Electronic Filing.



   Date: December 4,2017

                                                             Amanda R. Callais
                                                              Amanda R. Callais
